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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


 LASHAWN JONES, ET AL.                               CIVIL ACTION NO. 12-859

 VERSUS                                              SECTION I, DIVISION 1

 MARLIN GUSMAN, ET AL.                               JUDGE LANCE M. AFRICK
                                                     MAGISTRATE JUDGE NORTH


                                      STATUS REPORT

       The City of New Orleans (the “City”) hereby submits a Status Report on the progress of

the Temporary Detention Center (“TDC”) renovation and the construction of Phase III of the

Orleans Justice Center (“OJC”) facility, in response to the Court’s Order of March 18, 2019 (R.

Doc. 1227).

       TDC renovations, as ordered by the Court, remain in progress, and are currently 95%

complete. While the Security Electronics and Detention Furniture sub-contractor was negatively

impacted by the COVID-19 global pandemic which caused a temporary suspension in work, they

have now re-mobilized and are completing remaining security electronic and detention furniture

installations. The Millwork subcontractor also re-mobilized from their suspension of work

because of COVID-19 concerns. Millwork in Building #2 is complete. Millwork installation in

Building #1 should be finished by June 5, 2020. The City previously requested an inmate

mobilization plan from OPSO and will defer to OPSO regarding the status of same.

       As Ordered by the Court, Phase III design work remains ongoing, and design information

and documents were previously shared with all parties. In-person meetings were scheduled to

further show the parties the current design status, but such meeting was postponed on two separate
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occasions, once at the Court’s request, and then at the architect’s request. While the architect

Grace/Hebert Architects (“GHC”) is currently at 25% with the Construction Document Phase of

the OJC Phase III facility, the COVID-19 pandemic has had a dramatic impact on the City’s

financial standing. The City currently faces a projected $136M revenue shortfall in 2020,

primarily the result of diminished sales tax collections. Furthermore, the City’s ability to finance

infrastructure projects was recently impacted by Fitch Ratings’ May 4 th announcement that they

were downgrading the City’s default bond rating and placing the City on a negative rating watch.

       Given these new financial realities, it is imperative that the City address concerns with the

ongoing design work on the OJC Phase III facility. This project is already projected to cost $51M,

which is $15M over budget, and will require the commitment not only of additional bond funds

but also a substantial operating budget – money that the City does not have. Furthermore, the

significant strides that the City has made over the past five years to reduce the jail population has

alleviated the need for such an expanded jail capacity.

       Once the Phase III facility opens it will require a dedicated operating budget. A study

commissioned by the City projects that operating costs for the facility will total a net $9.5M per

year, primarily the result of increased staffing. This would necessitate an 18% increase in the

City’s General Fund contribution to the Sheriff’s budget, which has already seen a massive

increase in response to the Consent Judgement.

       When the Consent Judgement became effective in October 2013, the average daily

population in the jail was 2,289 and the City’s General Fund contribution to jail operations at that

time was $22M. By 2019, the jail had an average daily population of 1160 and a General Fund

contribution of $53M. Notably, in the span of six years, the City has increased its allocation of

operating funding to OPSO by a total of 140%, and this funding has increased by an astounding
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                                 375% on a per-inmate basis. Notwithstanding this substantial investment, OPSO remains under

                                 the cloud of a consent decree. Accommodating an additional increase of almost $10M annually

                                 in operating expenses in response to a Court Order, where a budget increase of 140% has already

                                 occurred, would be challenging under normal circumstances. In the context of recovering from

                                 the sharpest decline in economic activity in U.S. history, it would mean cutting basic city services.

                                 It would also mean potentially reducing funding for public safety and programs that support other

                                 vulnerable populations in Orleans Parish who are not in jail, including the mental health

                                 population.

                                        Steady and consistent jail population trends have diminished the need to expand jail

                                 capacity in the manner the City originally agreed to do in 2017. With $3.5M in grant support from

                                 the John D. and Catherine T. MacArthur Foundation, the City has been working directly with

                                 criminal justice stakeholders over the past several years to implement initiatives that reduce jail

                                 population.

                      1800
                                         1541                 1552
                      1600

                      1400                                                          1285
Average Daily Population




                                                                                                         1160
                      1200
                                                                                                                               977
                      1000

                           800

                           600

                           400

                           200

                             0
                                         2016                 2017                  2018                 2019                 2020


                                        In 2019, the average daily population decreased below 1200 inmates for the first time – a

                                 25% reduction compared to 2016. At the same time, the City anticipates completing work on

                                 renovations to TDC Buildings 1 and 2, which will add additional capacity to the jail’s existing
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current capacity for 1,438 persons. TDC will also provide some additional housing for OPSO’s

current acute and sub-acute mental health populations, including both females and males.

       Since the COVID-19 epidemic, the jail population has declined even further, with the

average daily population ranging from 800-850. While it is still unclear if a sub-850 average daily

population is sustainable in the long-term, courts and law enforcement are implementing strategies

which are likely to continue to exert downward pressure on the jail population even once the

epidemic recedes. Finally, to fully implement Louisiana’s “Raise the Age” law the City has

completed an expansion of our Juvenile Justice Intervention Center (“JJIC”) to house juveniles

currently being held at OJC. We anticipate that the remaining ~16 juveniles currently housed at

OJC will either be largely or entirely moved to the JJIC later this year, further reducing supervisory

demands on OPSO.

       The economic impacts of the COVID-19 pandemic mean that the City is already facing

what is likely to be years of reduced funding for government services, with the anticipated costs

of Phase III exacerbating needed budget cuts. Given these factors, the City will be required to take

immediate steps to address these growing concerns.

                                               Respectfully submitted,



                                               /s/ Sunni J. LeBeouf
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                               CERTIFICATE OF SERVICE

       I certify that on May 31, 2020, a copy of the foregoing has been served upon all parties to

this proceeding by CM/ECF notification.

                                            /s/ Sunni J. LeBeouf
                                            SUNNI J. LeBEOUF
